10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

§CaSe.S:OB-CV-OOlBl-.]VS- Document 14 Filed 08/01/05 P€e 1 of 2 Page |D #:2'§

l

DEBRA WONG YANG
United States Attorney
LEON W. WEIDMAN

 

Assistant United States Attorney
Chief, Civil Division
BRENT A. WHITTLESEY
Assistant United States

  
   

§§ 1 earth

 

 

California Bar No. 73493

suite 7516AA Feder ::E‘T“f“
300 North Los Angel s Str etJU §
LOS Angeles, cA 90 12 ~ \ 2255

AUG"lZOGE

 

 

 

 

Telephone: (213) 8 4- 2445
Fax NO.: (213) 89 -590 50 W§Cl§g=n

march TOF ANA
c ENTRALN D§\§§S§ §§§§ §§ SANTA DEP§

acumen

  
  
    
 

   
 

Attorneys for Plaintiff
United States cf America

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NO. SACV05-015l-JVS(ANX)

 

In the above-entitled action, the Clerk of this Court having
entered on`:S-.Mb“ffg§p\w§da default against Defendants MICHAEL
S. SCHWABE, LAURIE A. SCHWABE, and SHERI A. SCHWABE, for failure
to respond cr appear, and a declaration on behalf of Plaintiff
having been filed satisfying the requirements cf Rule 55:

///
///
///
///
///
///

DOCKETED ON CM

    

 

 

 

 

CLERK U S D|STFNCT `OUF\T
ENTHAL D|STR|CT OF CAUFORNIA
UTHERN D|V|S|ON AT S F\NTA ANA

 

DEPUTY

~~~""""'": _ § SevD/MW

)
)
Plaintiff, ) Docketed
) Cop`\esl TC $D)
. DE:FAULT JUDGMENT
v g ____-m JS.S, . .
MICHAEL s. scHwAsE, et al., ) .__.JS-2/JS-3
) ____ CLSD
Defendants. )
)

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

,SaSe 8:05-CV-OO151-.JVS-A. Document 14 Filed 08/01/05 P‘e 2 of 2 Page |D #-:'24

.\

IT IS ADJUDGED that Plaintiff, United States of America,
shall have and recover from Defendants MICHAEL S. SCHWABE, LAURIE
A. SCHWABE, and SHERI A. SCHWABE, the Sum Of $106,637.00 in
principal, an accrued prejudgment interest through June 29, 2005,
in the amount of $5,491.90, with interest continuing to accrue at
the rate of 10.000 per cent per annum, with a daily accrual of
$30.72, until the date of judgment, with interest thereafter at
the legal rate, costs in the amount of $579.69, for a total of
$112,708.59.

SHERRI R. CARTER, Clerk

United States District Court
Central District of California

DATED; g / Dl>/ § [47/ w

De§uty Clerk
LORIANDERSUN

 

 

